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                                 UNITED STATES DISTRICT COURT
                                  DISTRICT OF MASSACHUSETTS


                                                  |
UNITED STATES OF AMERICA                          |
                                                  |
        v.                                        |                No. 1:17-cr-10277-MLW
                                                  |
PETER MOLLOY                                      |
                                                  |


                                   MOTION FOR RETURN OF BAIL

        Defendant Peter R. Molloy (“the defendant”), by and through his undersigned counsel,

hereby respectfully requests this Honorable Court issue an order directing the return of the

$100,000.00 cash and release of the property posted by the defendant to secure his $350,000.00

appearance bond. As grounds, the defendant avers and states:

    1. The defendant was indicted on September 13, 2017, and appeared for his Initial

        Appearance on September 19, 2017.                 His arraignment and detention hearing were

        scheduled for October 2, 2017. The defendant was arraigned on October 2, 2017; his

        detention hearing was continued to October 19, 2017. On October 19, 2017, the Court

        entered the order setting the defendant’s conditions of release1 were set, including a

        secured appearance bond2 in the amount of $350,000.00. The appearance bond was

        secured by $100,000.00 cash, which was paid on that date3, with the remaining balance of




1
  Docket entry #31, copy attached as Exhibit 1.
2
  Docket entry #32, copy attached as Exhibit 2.
3
  Receipt # 1BST064926.

                                                      1
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         $250,000.00 secured by the posting of property, which was completed on December 4,

         20174.

    2. A Rule 11 Hearing was held on June 4, 2018, at which time the defendant entered a

         guilty plea, pursuant to a plea agreement. He was sentenced on August 31, 2018, to terms

         of custody and supervised release, respectively.

    3. From the time the defendant was granted conditional pretrial release on December 4,

         2017, through his sentencing on August 31, 2018, the defendant complied with all

         conditions of his release. The defendant’s case has concluded, and he is currently

         incarcerated, serving his term of imprisonment.

    4. Given that the defendant fully complied with the conditions of his release, and/or the

         terms of his appearance bond, now that his case has concluded, he respectfully requests

         that the $100,000.00 cash paid and property posted to secure his appearance bond be

         returned/released to the surety/its owner, the defendant’s father, Peter F. Molloy5.


         WHEREFORE, the defendant respectfully requests this Honorable Court issue an order

directing the return of the $100,000.00 cash posted and the release of the property posted by the

defendant to secure his appearance bond.




4
  Docket entry #46, copy attached as Exhibit 3.
5
  If the Court is unwilling to authorize the return of the funds to the defendant’s designated assignee, the defendant
requests, in the alternative, that the funds be delivered to the defendant’s undersigned counsel for disbursement in
accordance with the defendant’s wishes.

                                                          2
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Dated: February 22, 2019                          Respectfully submitted,
                                                  PETER MOLLOY
                                                  By and through his attorneys,

                                                   /s/ Daniel C. Reilly
                                                  Daniel C. Reilly, BBO#699663
                                                  BRAD BAILEY LAW, P.C.
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                                                  Boston, Massachusetts 02108
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                                                  Fax: (857) 265-3184
                                                  dan@bradbaileylaw.com



                                           Certificate of Service

         I, Daniel C. Reilly, hereby certify that on this the 22nd day of February, 2019, I caused a true copy
of the foregoing Motion for Return of Bail to be served upon all necessary parties to this matter by virtue
of electronically filing the same via the CM/ECF system.

                                                   /s/ Daniel C. Reilly
                                                  Daniel C. Reilly




                                                      3
